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                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO
                               WACO DIVISION


WSOU INVESTMENTS LLC                       §
                                           §     CIVIL NO:
vs.                                        §     WA:20-CV-00889-ADA
                                           §
HUAWEI TECHNOLOGIES CO., LTD.,             §
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES CO., LTD.,
WSOU INVESTMENTS LLC


                ORDER RESETTING MOTION HEARING


     IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                       reset for
                   Zoom on Wednesday, August 04, 2021 at 02:30 PM.
MOTION HEARING by Zoom

       IT                     4th day of August, 2021.




                                          Alan D Albright
                                          UNITED STATES DISTRICT JUDGE
